        Case 9:16-cr-00026-DLC Document 65 Filed 08/31/16 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA                        FILED
                           MISSOULA DIVISION                              AUG 3 1 2016
                                                                  Clerk, US o· .
                                                                    o;.-.:.. IStrict Court
 UNITED STATES OF AMERICA,                                            """""'.Of Montana
                                                       CR 16-26-M-DLC Mrssouta

                     Plaintiff,
                                                      FINDINGS AND
        vs.                                         RECOMMENDATION
                                                    CONCERNING PLEA

 BRANDON ALLEN OLEAN,
                                                                                  '   l   .
                     Defendant.




      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of the possession with the intent to

distribute methamphetamine in violation of 21 U.S.C. § 841(a)(l) as set forth in

Count III of the Indictment. In exchange for Defendant's plea, the United States

has agreed to dismiss Count I of the Indictment.

      After examining the Defendant under oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,

      2. That the Defendant is aware of the nature of the charge against him and


                                          1
        Case 9:16-cr-00026-DLC Document 65 Filed 08/31/16 Page 2 of 2



consequences of pleading guilty to the charge,

      3. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty, and

      4. That the plea of guilty is a knowing and voluntary plea, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offense charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that he fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of Count III

of the Indictment, and that sentence be imposed. I further recommend that Count I

of the Indictment be dismissed.

      This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the Plea

Agreement and the presentence report.

      DATED this 31st day of August, 2016.




                                        e miah C. Lynch
                                          ited States Magistrate Judge

                                          2


                           (
